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   MAY 14 2orn:                            UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF MISSOURI
 U.S. District Court                        _ _ _ _ _ _ _ _DIVISION
Eastern District of MO

                                                                )

    Llli-fh>7JcJL. S:::;Jes
         P'rrrintiff(s),
                                                                )
                                                                )
                                                                )
                                                                )
       v.                                                       )       Case No.   -~------


                                                                )           (to be assigned by Clerk of District Court)
                                                                )
                                                                )
                                                                )       JURY TRJAL DEMANDED
                                                                )
                                                                )          YEsO          No)Zj_
        Defendant(s). (Enter above the full name(s)             )
        of all defendants in this lawsuit. Please               )
        attach additional sheets if necessary.)                 )


                                 EMPLOYMENT DISCRIMINATION COMPLAINT

                   I.       This employment discrimination lawsuit is based on (check only those that apply):


        _X_       Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
                  employment discrimination on the basis of race, color, religion, gender, or national origin.
                  NOTE: In order to bring suit in federal district court under Title VII, you must first obtain
                  a right-to-sue letter from the Equal Employment Opportunity Commission.

            ~     Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621, et seq., for
                  employment discrimination on the basis of age (age 40 or older).
                  NOTE: In order to bring suit infederal district court under the Age Discrimination in
                  Employment Act, you must first file charges with the Equal Employment. Opportunity
                  Commission.

                  Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq.,
                  for employment discrimination on the basis of disability.
                  NOTE: In order to bring suit in. federal district court under the Americans with
                  Disabilities Act, you must first obtain a right-to-sue letter from the Equal Employment
                  Opportunity Commission.
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     Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
     discrimination on the basis of a disability by an employer which constitutes a program or
     activity receiving federal financial assistance.
     NOTE: In order to bring suit in federal district court under the Rehabilitation Act of 1973,
     you mustfirst file charges with the appropriate Equal Employment Office representative or
     agency.

     Other (Describe)




                                         PARTIES

     2.     Plaintiffs name:   _L_---'@:J'-+--h_tJ_n...,-?!J_,_-~__U,_,_a__t(-+--(e__s
                                                                                ______
            Plaintiffs address:   3 /~            Vt }:q /n /a_,             jJ / q_C--e.-
                                        Street address   od.o. Box
                                   £.     Si-.     lo v 5,      1
                                        City/ County/ State/Zip'Code
                                                                      J:L       t     ~:;;_ L> 7

                                  (! 1.1) S;L/- L> t/ 7~
                                     =j(fea code and telephone number

     3.     Defendant's name:     /2._//I I: ~ t./ 5 a/Ve/  I                       5 ,'   t;-)) 4.J7 ,',,__//e.   5
            Defendant's address:   d-:2/ A/or..fh                     Grq_/2J- ._.5'.,-<!!z,1£.:ss~x!. Gep.e~
                                        Street address or P.O. Box                               · !>-.Se__./

                                       St. &£)6                     IY2Z> ~3 tc>c.~
                                        City/County/State?' Zip Code


                                        Area code and telephone number

NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES, ADDRESSES AND TELEPHONE NUMBERS ON A
SEPARATE SHEET OF PAPER.


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       4.      If you are claiming that the discriminatory conduct occurred at a different location,
please provide the following information:

(Street Address)                      (City/County)              (State)   (Zip Code)

        5.      When did the discrimination occur? Please give the date or time period:

                                      dLJ 17

                              ADMINISTRATIVE PROCEDURES

        6.      Did you file a charge of discrimination against the defendant(s) with the Missouri

Commission on Human Rights?

        _jll_ves        Date filed:    ~ /j dD 17
       fiNo
        7.      Did you file a charge of discrimination against the defendant(s) with the Equal

Employment Opportunity Commission or other federal agency?

         lKJ_Yes       Date filed:    ·-su!!:J      d..O J J
         o_No
        8.      Have you received a Notice of Right-to-Sue Letter?

              A-Yes                                     £LNo

If yes, please attach a copy of the letter to this complaint.

        9.     If you are claiming age discrimination, check one of the following:

        _2(_60 days or more have passed since I filed my charge of age discrimination with the

Equal Employment Opportunity Commission.

       _ _fewer than 60 days have passed since I filed my charge of age discrimination with the

Equal Employment Opportunity Commission.


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                               NATURE OF THE CASE

   10.     The conduct complained of in this lawsuit involves (check only those that apply):

                 failure to hire me

          )(._ termination of my employment

           _ _ failure to promote me

           _ _ failure to accommodate my disability

           _ _ terms and conditions of my employment differ from those of similar employees

                 retaliation

                 harassment

           _ _ other conduct (specify):




    Did you complain about this same conduct in your charge of discrimination?

          .)i{J-Yes                             _Q_ No




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        11.                          . . .
               I believe that I was d1scnmmate d agam
                                                    . st because of my (check all that apply):

              ~race

                       religion

                       national origin

                       color

                      gender

               ,6_ disability

               A_     age (my birth date is:

                      other:



                                        . your c h arg e of discrimination?
       Did you state the same reason(s) m

               jl(]_Yes                                  O_No                                    .
                 State here, as briefly and clearl~ d" p . . at~ry and describe how each defendant
                                                      as ossible the essential facts of your claim.
         12
            .           h      d t that you believe is iscnmm                          d        phs
Describe specifically t econ uc .               ize our statement; you may use numbere paragra
is involved in the conduct. Take time to organ k y l l arguments or to cite cases or statutes.
if you find it helpful. It is not necessary to ma e ega         . .,


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(Attach additional sheets as necessary).


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         13.     The acts set forth in paragraph 12 of this complaint:

                  I~till being committed by the defendant.
                 _D_ are no longer being committed by the defendant.
                 D_ may still be being committed by the defendant.
                                     REQUEST FOR RELIEF

         State briefly and exactly what you want the Court to do for you. Make no legal arguments;

 cite no cases or statutes.
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         14.    Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of
my knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existil').g law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the requirements
of Rule




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       I agree to provide the Clerk's Office with any changes to my address where case-related

papers may be served. I understand that my failure to keep a current address on file with the Clerk's

Office may result in the dismissal of my case.

       I declare under penalty of perjury that the foregoing is true and correct.

                      Signed this   _l!f__ day of   ~~=--,---+-~~~~~if-




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